Case 23-59655-jwc          Doc 14    Filed 10/19/23 Entered 10/19/23 16:16:21            Desc Main
                                     Document      Page 1 of 3


                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                 CASE NO. 23-59655-jwc

 STEPHANIE RANA CARTER AKA                              CHAPTER: 13
 STEPHANIE RANA RILEY AKA
 STEPHANIE RANA MADDOX,                                 JUDGE: JEFFERY W. CAVENDER

                 Debtor.


     OBJECTION TO CONFIRMATION OF PLAN AND MOTION TO DISMISS CASE

       COMES NOW U.S. Bank Trust Company, National Association, as trustee, as successor-
in-interest to U.S. Bank National Association, as Trustee for Residential Asset Securities
Corporation, Home Equity Mortgage Asset-Backed Pass-Through Certificates, Series 2006-KS3,
(hereinafter known as "Creditor"), a secured creditor holding a Security Deed on real property
commonly known as 2675 Harrison Mill Drive, Douglasville GA 30135, and for the reasons stated
below, objects to confirmation of the Plan and moves to dismiss this case, as follows:
          1.   Creditor anticipates filing a pre-petition arrearage claim in the approximate amount
of $16,220.45, more particularly described in the proof of claim once filed. The plan calls for an
estimated pre-petition arrearage amount of $0.00 with monthly disbursements on this claim in the
amount of $0.00. Debtor has underestimated the amount of the arrearage due to the Creditor, and
for this reason, Creditor objects.
          2.   Creditor reserves the right to raise the failure of Debtor to have made post-petition
payments, if at confirmation that appears to be the case.




       WHEREFORE, Creditor prays that the Court deny confirmation of the Plan and moves to
Case 23-59655-jwc           Doc 14   Filed 10/19/23 Entered 10/19/23 16:16:21            Desc Main
                                     Document      Page 2 of 3



dismiss this case. Creditor prays for reasonable attorney's fees and for such other and further relief
as is just and equitable.

                                                        /s/ Evan Durkovic
                                                        Evan Durkovic, Bar No.: 948332
                                                        Attorney for Creditor
                                                        ALDRIDGE PITE, LLP
                                                        Six Piedmont Center
                                                        3525 Piedmont Road, N.E., Suite 700
                                                        Atlanta, GA 30305
                                                        Phone: (404) 994-7400
                                                        Fax: (888) 873-6147
                                                        Email: edurkovic@aldridgepite.com
Case 23-59655-jwc       Doc 14     Filed 10/19/23 Entered 10/19/23 16:16:21            Desc Main
                                   Document      Page 3 of 3


                    UNITED STATES BANKRUPTCY COURT
              NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

  IN RE:                                               Case No. 23-59655-JWC

  STEPHANIE RANA CARTER AKA                            Chapter 13
  STEPHANIE RANA RILEY AKA
  STEPHANIE RANA MADDOX,

                 Debtor.


                                 CERTIFICATE OF SERVICE

       This is to certify that on this day I electronically filed the foregoing OBJECTION TO
CONFIRMATION OF PLAN AND MOTION TO DISMISS CASE using the Bankruptcy
Court’s Electronic Case Filing program, which sends a notice of this document and an
accompanying link to this document to the following parties who have appeared in this case under
the Bankruptcy Court’s Electronic Case Filing program:

 Karen King                                          Nancy J. Whaley

        I further certify that on this day I caused a copy of this document to be served via United
States First Class Mail, with adequate postage prepaid on the following parties set forth below at
the address shown for each.

 Stephanie Rana Carter
 2675 Harrison Mill Dr
 Douglasville, GA 30135

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

 Dated: October 19, 2023                       /s/ Evan Durkovic
                                               Evan Durkovic, Bar No.: 948332
                                               Attorney for Creditor
                                               ALDRIDGE PITE, LLP
                                               Six Piedmont Center
                                               3525 Piedmont Road, N.E., Suite 700
                                               Atlanta, GA 30305
                                               Phone: (404) 994-7400
                                               Fax: (888) 873-6147
                                               Email: edurkovic@aldridgepite.com
